                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                               Civil Action No: 3:17-CV-00652

 SNYDER’S-LANCE, INC. and PRINCETON
 VANGUARD, LLC,

                         Plaintiffs,
                                                           DEFENDANT’S RESPONSE TO
       v.                                                    PLAINTIFFS’ NOTICE OF
                                                           SUPPLEMENTAL AUTHORITY
 FRITO-LAY NORTH AMERICA, INC.,

                         Defendant.


         Pursuant to Local Rule 7.1(j), Defendant Frito-Lay North America, Inc. submits this

Response to Plaintiffs’ Notice of Supplemental Authority (Doc. 92), filed on April 28, 2021. This

Response is intended to clarify or provide context for Plaintiffs’ quotations from U.S. Patent and

Trademark Office v. Booking.com B.V., 140 S. Ct. 2298 (2020), where the Supreme Court rejected

a per se rule that a mark consisting of a generic term combined with a generic top-level domain

like “.com” is necessarily generic. Below is a table containing the supplemental citations.

 Plaintiffs’         Responsive Citation
 Citation
 Id. at 2308–09.     In affirming the Fourth Circuit’s decision, the Court explained that “[t]he PTO

                     challenge[d] the judgment below on a sole ground: It urge[d] that, as a rule,

                     combining a generic term with ‘.com’ yields a generic composite.” Id. at 2308.

                     The Court “decline[d] a rule of that order, one that would largely disallow

                     registration of ‘generic.com’ terms.” Id. By the time the case was at the

                     Supreme Court, “[t]he PTO no longer dispute[d]” the previous courts’




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                     determination that “[c]onsumers do not in fact perceive the term

                     ‘Booking.com’” as referring to a class of services. Id. at 2305.

 Id. at 2304.        The Court also confirmed the “principle” that “[a] compound of generic

                     elements is generic if the combination yields no additional meaning to

                     consumers capable of distinguishing the goods or services.” Id. at 2306

                     (emphasis in original).

 Id. at 2307 n.6     The Court further explained that “[s]urveys can be helpful evidence of

                     consumer perception but require care in their design and interpretation”; the

                     Court also noted that “such issues are not here entailed, for the PTO does not

                     contest the lower courts’ assessment of consumer perception in this case.” Id.

                     at 2307 n.6.

                     In her concurrence, Justice Sotomayor commented that “flaws in a specific

                     survey design, or weaknesses inherent in consumer surveys generally, may

                     limit the probative value of surveys in determining whether a particular mark

                     is descriptive or generic in this context. But I do not read the Court's opinion

                     to suggest that surveys are the be-all and end-all. As the Court notes, sources

                     such as ‘dictionaries, usage by consumers and competitors, and any other

                     source of evidence bearing on how consumers perceive a term's meaning’ may

                     also inform whether a mark is generic or descriptive.” Id. at 2309 (Sotomayor,

                     J., concurring).

 Id. at 2306.        The Court immediately added, “[b]ut the PTO’s only legal basis for deeming

                     ‘generic.com’ terms generic is its mistaken reliance on Goodyear.” Id. at

                     2307.




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This the 30th day of April, 2021.

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